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 2   CASE UNSEALED PER ORDER OF COURT
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 8                                         UNITED STATES DISTRICT COURT

 9                                        SOUTHERN DISTRICT OF CALIFORNIA

10                                                 September 2016 Grand Jury

11   UNITED STATES OF AMERICA,                                     Case No. 17CR1409-W

12                        Plaintiff,                               I N D I C T ME N T
                                                                   -(2nd superseding)-
13               v.
                                                                   Title 21, U.S.C., Secs. 841(a) (1)
14   ROSA DE ARCOS ( 1)          I                                 and 846 - Conspiracy to Distribute
     MARIA ELENA URENA-CERVANTES (2),                              Controlled Substances; Title 21,
15                                                                 U.S.C., Secs. 952 and 96Q -
                          Defendants.                              Importation of Methamphetamine
16                                                                 and Cocaine; Title 21, U.S.C.,
                                                                   Secs. 952 and 960 - Importation of
17                                                                 Fentanyl; Title 18, U.S.C.,
                                                                   Sec. 2 - Aiding and Abetting;
18                                                                 Title 21, U.S.C., Sec. 853 -
                                                                   Criminal Forfeiture
19

20           The grand jury charges:
21                                                             Count 1
22                         Conspiracy to Distribute Controlled Substances
23           Beginning on a date unknown and continuing up to and including at
24   least       May      8,   2017,       within        the    Southern   District   of   California   and
25   elsewhere, defendants ROSA DE ARCOS and MARIA ELENA URENA-CERVANTES, did
26   knowingly and intentionally conspire together and with each other and
27   with other persons known and unknown to the grand jury to distribute
28   500 grams and more, to wit: approximately 23.64 kilograms                               (52 pounds),
     JJO:nlv:San Diego
     11/28/17
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1    of     a     mixture       and   substance           containing       a   detectable               amount     of

 2   methamphetamine, a Schedule II Controlled Substance, 400 grams and more,

 3   to wit:       approximately 15.68 kilograms                   (34.49 pounds)            of a mixture and

 4   substance        containing            a     detectable        amount        of         N-phenyl-N-[1-(2-

 5   phenylethyl)-4-piperidinyl]                   propanamide           (fentanyl),          a       Schedule      II

 6   Controlled       Substance,          and     500     grams    and    more,        to    wit:       1   kilogram

 7   (2.20 pounds), of a mixture and substance containing a detectable amount

 8   of    cocaine,        a   Schedule     II    Controlled Substance;                all    in violation of

 9 Title 21, United States Code, Sections 84l(a) (1) and 846.

10                                                       Count 2

11                             Importation of Methamphetamine and Cocaine

12              On or about       January        18,    2017,     within the       Southern District                of

13   California, defendants ROSA DE ARCOS and MARIA ELENA URENA-CERVANTES did

14   knowingly        and       intentionally           import     500    grams        and    more,         to    wit:

15   approximately 23. 64 kilograms                     (52 pounds),      of a mixture and substance

16   containing        a       detectable        amount    of     methamphetamine,                a    Schedule     II

17   Controlled       Substance,          and     500     grams    and    more,        to    wit:       1   kilogram

18   (2.20 pounds), of a mixture and substance containing a detectable amount

19   of cocaine, a Schedule II Controlled Substance,                              into the United States

20   from a place outside thereof;                      in violation of Title 21, United States

21   Code, Sections 952 and 960, and Title 18, United States Code, Section 2.

22                                                       Count 3

23                                          Importation of Fentanyl

24              On or about May 8, 2017, within the Southern District of California,

25   defendants ROSA DE ARCOS and MARIA ELENA URENEA-CERVANTES did knowingly

26   and    intentionally           import       400    grams     and more,       to    wit:          approximately

27   15.68 kilograms (34.49 pounds), of a mixture and substance containing a

28   detectable            amount      of        N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl]
                                                            2
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1    propanamide    (fentanyl),     a   Schedule       II   Controlled Substance,    into the

 2   United States from a place outside thereof;                 in violation of Title 21,

 3   United States Code,        Sections 952 and 960,          and Title 18,   United States

 4   Code, Section 2.

 5                                     FORFEITURE ALLEGATIONS

 6        1.   The allegations contained in Counts 1 through 3 are hereby

 7   realleged and by      their       reference       fully   incorporated herein   for    the

 8   purpose of alleging forfeiture to the United States of America pursuant

 9   to the provisions of Title 21, United States Code, Section 853.

10        2.   Upon conviction of one or more of the felony offenses alleged

11   in Counts 1 through 3 of this indictment, said violations being punishable

12   by imprisonment for more than one year and pursuant to Title 21, United

13   States Code, Sections 853 (a) ( 1) and 853 (a) (2) , defendants ROSA DE ARCOS

14   and MARIA ELENA URENEA-CERVANTES, shall, upon conviction, forfeit to the

15   United States any and all property constituting,                 or derived from,      any

16   proceeds the defendants obtained, directly or indirectly, as the result

17   of the offenses, and any and all property used or intended to be used in

18   any manner or part to commit and to facilitate the commission of the

19   violations alleged in Counts 1 through 3 of this indictment.

20        3.   If    any   of    the    above-described        forfeitable   property,     as   a

21   result of any act or omission of the defendants:

22             a.     cannot be located upon the exercise of due diligence;

23             b.     has been transferred or sold to,                or deposited with,        a

24                    third party;

25             c.     has been placed beyond the jurisdiction of the Court;

26             d.     has been substantially diminished in value; or

27             e.     has been commingled with other property which cannot be

28                    subdivided without difficulty;

                                                   3
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1    it    is the intent of the United States,        pursuant to Title 21,        United

 2   States Code,     Section 853(p),    to seek forfeiture of any other property

 3   of the defendants up to the value of the property listed above as being

 4   subject to forfeiture.

 5           DATED: November 28, 2017.

 6                                                   A TRUE BILL:

 7

 8                                                   Foreperson

 9   ADAM L. BRAVERMAN
     United States Attorney
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11
     By:
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     By:
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